          Case 1:19-cv-02367-ABJ Document 62 Filed 01/26/21 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                     )
 PETER P. STRZOK,                                    )
                                                     )
                Plaintiff,                           )
                                                     )      Case No. 1:19-CV-2367-ABJ
        v.                                           )
                                                     )
 WILLIAM P. BARR, in his official capacity           )
 as Attorney General of the United States, et        )
 al.,                                                )
                                                     )
                Defendants.                          )
                                                     )
                                                     )


   DEFENDANTS’ RESPONSE TO PLAINTIFF STRZOK’S MOTION TO COMPEL
        Defendants hereby respond to Plaintiff Peter Strzok’s motion to compel, ECF No. 61.

Plaintiff’s counsel accurately represented in their filing that Defendants take no position on that

motion and therefore do not oppose as a technical matter. However, Defendants file this response

to make clear that Defendants do not endorse the arguments made in support of Plaintiff’s motion

regarding alleged motivations behind Plaintiff’s removal or the disclosure of text messages, or

otherwise share in Plaintiff’s theory as to the relevance of the subpoenaed materials to Plaintiff’s

case.



Dated: January 26, 2021                                  Respectfully submitted,

                                                         BRIAN M. BOYNTON
                                                         Acting Assistant Attorney General

                                                         CHRISTOPHER R. HALL
                                                         Assistant Branch Director




                                                 1
Case 1:19-cv-02367-ABJ Document 62 Filed 01/26/21 Page 2 of 2




                                  MARCIA BERMAN
                                  Assistant Branch Director

                                  /s/ Bradley P. Humphreys
                                  BRADLEY P. HUMPHREYS
                                  MICHAEL J. GAFFNEY
                                  Trial Attorneys
                                  U.S. Department of Justice
                                  Civil Division, Federal Programs Branch
                                  1100 L Street, NW
                                  Washington, D.C. 20001
                                  Phone: (202) 305-0878
                                  Fax: (202) 616-8460
                                  Bradley.Humphreys@usdoj.gov
                                  Counsel for Defendants




                              2
